Case 6:04-cr-06177-DGL-JWF   Document 80   Filed 12/12/05   Page 1 of 10
Case 6:04-cr-06177-DGL-JWF   Document 80   Filed 12/12/05   Page 2 of 10
Case 6:04-cr-06177-DGL-JWF   Document 80   Filed 12/12/05   Page 3 of 10
Case 6:04-cr-06177-DGL-JWF   Document 80   Filed 12/12/05   Page 4 of 10
Case 6:04-cr-06177-DGL-JWF   Document 80   Filed 12/12/05   Page 5 of 10
Case 6:04-cr-06177-DGL-JWF   Document 80   Filed 12/12/05   Page 6 of 10
Case 6:04-cr-06177-DGL-JWF   Document 80   Filed 12/12/05   Page 7 of 10
Case 6:04-cr-06177-DGL-JWF   Document 80   Filed 12/12/05   Page 8 of 10
Case 6:04-cr-06177-DGL-JWF   Document 80   Filed 12/12/05   Page 9 of 10
Case 6:04-cr-06177-DGL-JWF   Document 80   Filed 12/12/05   Page 10 of 10
